                        IN THE UNITED STATES DISTRICT
                          COURT EASTERN DISTRICT OF
                                 WISCONSIN

The ESTATE OF SYLVILLE K. SMITH, by         )
Personal Representative Mildred Haynes,     )   No. 17-cv-862
Patrick Smith, and Mildred Haynes, on her   )
own behalf,                                 )
                                            )
          Plaintiffs,                       )    JURY TRIAL DEMANDED
                                            )
           v.                               )
                                            )
CITY OF MILWAUKEE, WISCONSIN                )
and DOMINIQUE HEAGGAN-BROWN,                )
                                            )
         Defendants.                        )




                            EXHIBIT 22
                                    CAD History




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